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                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                      )
BLAIR IMANI, et al.                   )
                                      )
                    Plaintiffs,       )   Docket No.17-cv-00439-JWD-EWD
      v.                              )
                                      )
CITY OF BATON ROUGE, et al.           )
                                      )
                    Defendants.       )
______________________________________)

                              JUDGMENT OF DISMISSAL

        Considering the Joint Motion to Dismiss Tammy Cheney in the above entitled and

number cause;

    IT IS ORDERED that plaintiff Tammy Cheney’s suit against Louisiana State Police, Sheriff

Sid J. Gautreux III, Michael Edmondson, Kevin Reeves, Beau Comeaux, Herman Newell,

William Seymour, Joe Dessens, Mark Dennis, Jonathan James, Gerald Varnado, Samuel Capaci,

Kevin Curlee, Kevin Cannatella, John Clary, Marshall Menou, James Jamison, Troy Banks,

Calvin Prater, Brandon McCall, Jason Jones, Harry Howard, Justin Walker, Alan Hamilton,

Brandon Blust, James Crockett, Randall Wiedeman, David Wallace, Mike Walker, Christopher

Bryan Taylor, Myron Daniels, AIX Group (d/b/a Nova Casualty Company), and all remaining

Doe Defendants be dismissed with prejudice and with each party to bear their own costs.


                                      22nd day of _____________________,
        Baton Rouge, Louisiana, this _________        November            2019
                                                                         ________.

                                   S
                     _________________________________________

                          JUDGE JOHN W. deGRAVELLES
                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA




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